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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF SOUTH CAROLINA

    Osman Ozsusamlar, #53271-054,        )       C/A No.: 1:18-492-AMQ-SVH
                                         )
                    Petitioner,          )
                                         )
         vs.                             )            REPORT AND
                                         )         RECOMMENDATION
    B.M. Antonelli, Warden,              )
                                         )
                    Respondent.          )
                                         )

        Osman Ozsusamlar (“Petitioner”), proceeding pro se, is incarcerated at

FCI-Pollock-Pom in Pollock, Louisiana, a facility of the Federal Bureau of

Prisons (“BOP”).1 He filed this petition seeking a writ of habeas corpus

pursuant to 28 U.S.C. § 2241. This matter is before the court pursuant to 28

U.S.C. § 636(b) and Local Civ. Rule 73.02(B)(2)(c) (D.S.C.) for a Report and

Recommendation on Respondent’s motion to dismiss. [ECF No. 17]. Pursuant

to Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), the court advised

Petitioner of the dismissal procedures and the possible consequences if he

failed to respond adequately to Respondent’s motion. [ECF No. 18]. After

obtaining an extension [ECF No. 21], Petitioner filed a response on June 15,

2018. [ECF No. 23].

        Having carefully considered the parties’ submissions and the record in


1Petitioner was incarcerated at FCI-Williamsburg, in Salters, South Carolina
at the time he filed the instant petition. [ECF No. 1].
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this case, the undersigned recommends that the court grant Respondent’s

motion to dismiss.

I.     Factual and Procedural Background

       Petitioner filed this § 2241 petition seeking restoration of good time

credits. [ECF No. 1 at 6]. Petitioner claims he did not know any English when

he was first arrested and detained, and he had a jailhouse lawyer write a

letter for him to send to a United States District Judge. Id. Petitioner states

the jailhouse lawyer vindictively submitted an incriminating letter on

Petitioner’s behalf. Id. Petitioner claims he explained to the judge that the

letter did not accurately reflect his thoughts, and the judge chose not to

punish Petitioner. Id. Petitioner contends that despite these facts, the BOP

charged him with threatening bodily injury to a district judge. [ECF No. 23 at

4]. A disciplinary hearing officer conducted a hearing on May 31, 2007, and

Petitioner guilty. [ECF No. 17 at 9]. Petitioner was sanctioned, in part, to the

disallowance of 27 days of good conduct time. Id.

II.    Discussion

       A.   Standard on Motion to Dismiss

       Dismissal is appropriate under Fed. R. Civ. P. 12(b)(1) where the court

lacks subject-matter jurisdiction. A motion to dismiss under Rule 12(b)(1)

examines whether a complaint fails to state facts upon which jurisdiction can

be founded. It is the plaintiff’s burden to prove jurisdiction, and the court is


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to “regard the pleadings’ allegations as mere evidence on the issue, and may

consider evidence outside the pleadings without converting the proceeding to

one for summary judgment.” Richmond, Fredericksburg & Potomac R.R. Co.

v. United States, 945 F.2d 765, 768 (4th Cir. 1991). The court is “not required

to accept as true the legal conclusions set forth in a plaintiff’s complaint.”

Edwards v. City of Goldsboro, 178 F.3d 231, 244 (4th Cir. 1999). Indeed, the

presence of a few conclusory legal terms does not insulate a complaint from

dismissal when the facts alleged in the complaint cannot support the legal

conclusion. Young v. City of Mount Ranier, 238 F.3d 567, 577 (4th Cir. 2001).

      Pro se complaints are held to a less stringent standard than those

drafted by attorneys. Gordon v. Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978). A

federal district court is charged with liberally construing a complaint filed by

a pro se litigant to allow the development of a potentially meritorious case.

Erickson v. Pardus, 551 U.S. 89, 94 (2007). In evaluating a pro se complaint,

the plaintiff’s allegations are assumed to be true. Merriweather v. Reynolds,

586 F. Supp. 2d 548, 554 (D.S.C. 2008). The mandated liberal construction

afforded to pro se pleadings means that if the court can reasonably read the

pleadings to state a valid claim on which the plaintiff could prevail, it should

do so. Nevertheless, the requirement of liberal construction does not mean

that the court can ignore a clear failure in the pleading to allege facts that set




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forth a claim currently cognizable in a federal district court. Weller v. Dep’t of

Soc. Servs., 901 F.2d 387, 390–91 (4th Cir. 1990).

      B.    Analysis

      Petitioner was required to exhaust his administrative remedies within

the BOP before submitting a § 2241 petition in this case. Although § 2241

does not contain a statutory exhaustion requirement, courts consistently

require prisoners to exhaust their administrative remedies prior to seeking

habeas review under § 2241. See Braden v. 30th Judicial Circuit Court, 410

U.S. 484, 490–91 (1973) (requiring exhaustion in 28 U.S.C. § 2241 matter);

McClung v. Shearin, 90 F. App’x 444, 445 (4th Cir. 2004) (“Federal prisoners

must exhaust their administrative remedies prior to filing § 2241 petitions.”).

The requirement of exhaustion allows prison officials to develop a factual

record and “an opportunity to resolve disputes concerning the exercise of

their responsibilities before being haled into court.” Jones v. Bock, 549 U.S.

199, 204 (2007).

      Respondent contends Petitioner did not exhaust his administrative

remedies in regard to the subject disciplinary conviction, and therefore his

petition should be dismissed. [ECF No. 17 at 3–7]. Respondent submits an

affidavit from Amy Williams, Legal Assistant for the United States

Department of Justice, BOP, supporting Petitioner’s failure to exhaust his

administrative remedies. See ECF No, 17-3. Williams states Petitioner filed


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five sets of administrative remedies challenging his May 2007 disciplinary

proceedings, and all but one of those remedies was rejected. Id. at 3. Williams

says Petitioner failed to appeal the denial of the one accepted administrative

remedy to the BOP central office, and therefore he failed to fully exhaust his

administrate remedies. Id. Petitioner does not contest Respondent’s assertion

that he did not exhaust his administrative remedies. Instead, Petitioner

challenges the evidence used to support his May 2007 disciplinary charge and

asks the court to appoint him an attorney “to follow up [his] Administrative

Remedies Complaint.” [ECF No. 23 at 6–8]. Because there is no dispute that

Petitioner failed to administratively exhaust his remedies prior to filing this

action, the undersigned recommends Respondent’s motion to dismiss be

granted.

III.    Conclusion and Recommendation

        For the foregoing reasons, the undersigned recommends that the court

grant Respondent’s motion to dismiss [ECF No. 17], deny the petition for writ

of habeas corpus, and dismiss the petition without prejudice. If the court

accepts this recommendation, Petitioner’s motion to appoint counsel [ECF

No. 24] will be rendered moot.




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     IT IS SO RECOMMENDED.



August 13, 2018                           Shiva V. Hodges
Columbia, South Carolina                  United States Magistrate Judge

 The parties are directed to note the important information in the attached
    “Notice of Right to File Objections to Report and Recommendation.”




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      Notice of Right to File Objections to Report and Recommendation

      The parties are advised that they may file specific written objections to
this Report and Recommendation with the District Judge. Objections must
specifically identify the portions of the Report and Recommendation to which
objections are made and the basis for such objections. “[I]n the absence of a
timely filed objection, a district court need not conduct a de novo review, but
instead must ‘only satisfy itself that there is no clear error on the face of the
record in order to accept the recommendation.’” Diamond v. Colonial Life &
Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory
committee’s note).

      Specific written objections must be filed within fourteen (14) days of the
date of service of this Report and Recommendation. 28 U.S.C. § 636(b)(1);
Fed. R. Civ. P. 72(b); see Fed. R. Civ. P. 6(a), (d). Filing by mail pursuant to
Federal Rule of Civil Procedure 5 may be accomplished by mailing objections
to:

                             Robin L. Blume, Clerk
                           United States District Court
                               901 Richland Street
                         Columbia, South Carolina 29201

      Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment
of the District Court based upon such Recommendation. 28 U.S.C. §
636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d
841 (4th Cir. 1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).




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